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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                              CASE NO.: 8:07-cr-99-T-23TBM

    ANDRES ESCOBEDO-ESTRADA
                                             /


                                          ORDER

          Because the defendant is responsible for 15,157 kilograms of cocaine, the base

    offense level after Amendment 782 remains 38. Accordingly, the court denied

    (Doc. 565) the defendant’s motion (Doc. 556) for a sentence reduction under Title 18

    U.S.C. Section 3582 and Amendment 782 to the Sentencing Guidelines. The

    defendant appealed (Doc. 572) and moved for leave to appeal in forma pauperis

    (Doc. 586).

          For the reasons explained in the order (Doc. 565) and the magistrate judge’s

    report and recommendation (Doc. 600), the appeal is frivolous and not taken in good

    faith. The report and recommendation is ADOPTED, and the motion for leave to

    appeal in forma pauperis is DENIED.

          ORDERED in Tampa, Florida, on January 28, 2016.
